          Case 1:15-cv-11191-MBB Document 87 Filed 04/30/18 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS



  JOHN F. BOWLEN, PERSONAL
  REPRESENTATIVE OF TH ESTATE OF                                       C.A. NO. 15-CV-11191-MMB
  WILLIAN EDWARD BOWLEN,

           Plaintiff,

           v.

  64 PERFORMANCE DRIVE OPERATING
  COMPANY, LLC d/b/a WEYMOUTH
  HEALTH CARE CENTER,
  HEALTHBRIDGE MANAGEMENT, LLC,

           Defendants.


                           JOINT REQUEST FOR NISI DISMISSAL

        NOW COME the parties and hereby notify this Honorable Court that the above captioned

matter has resolved. The parties move this Honorable Court enter a 60-day order for a nisi

dismissal, including all claims, cross claims, third-party claims, and counter claims, with prejudice

and without interest or costs, and waiving all rights to appeal. The parties state that they will file a

Joint Stipulation of Dismissal within those 60 days.




10058290\1496486v.1
          Case 1:15-cv-11191-MBB Document 87 Filed 04/30/18 Page 2 of 3



 Respectfully Submitted,

 The Plaintiff,                          The Defendants,

 JOHN F. BOWLEN, PERSONAL                64 PERFORMANCE DRIVE OPERATING
 REPRESENTATIVE OF TH ESTATE OF          COMPANY, LLC d/b/a WEYMOUTH
 WILLIAN EDWARD BOWLEN                   HEALTH CARE CENTER., and
                                         HEALTHBRIDGE MANAGEMENT, LLC

 By his attorney,                        By their attorneys,


 /s/ Daniel Federico                     /s/ Justin L. Amos
 _______________________________         _________________________________
 Daniel Federico, BBO # 645717           Joseph M. Desmond, BBO #634883
 dfederico@shaines.com                   jdesmond@morrisonmahoney.com
 SHAINES & MCEACHERN, P.A.               Justin L. Amos, BBO #697232
 283 Corporate Drive, Unit 2             jamos@morrisonmahoney.com
 Portsmouth, NH 03801                    MORRISON MAHONEY LLP
 (603) 436-3110                          250 Summer Street
                                         Boston, MA 02210
                                         (617) 439-7500


 Date: April 30, 2018                    Date: April 30, 2018




10058290\1496486v.1
          Case 1:15-cv-11191-MBB Document 87 Filed 04/30/18 Page 3 of 3



                                CERTIFICATE OF SERVICE

I, Justin L. Amos, hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on April 30, 2018.


 /s/ Justin L. Amos




10058290\1496486v.1
